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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
         v.                                     )      No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )



                 PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

         Pursuant to Local Civil Rule 5(C), the Protective Order (ECF No. 98 and Modified

  Protective Order, ECF No. 203) and the Court’s order on an extension of time to respond to

  motions to seal exhibits, ECF No. 621, Plaintiffs, through their undersigned counsel, hereby

  respectfully move this Court to seal certain portions of Plaintiffs’ Memorandum of Law in

  Opposition to Google LLC’s Motion to Exclude the Testimony of Dr. Timothy Simcoe as well as

  certain exhibits attached to the same motion. The redacted portions contain material that Google

  and third parties have designated as highly confidential or confidential. Consistent with the local

  rule and this Court’s Electronic Case Filing Policies and Procedures, undersigned counsel have

  filed the materials at issue using the sealed filing event on CM/ECF and hereby certify that they

  will serve a copy on opposing counsel and deliver a copy to this Court in a separate container

  labeled “UNDER SEAL.” The grounds for this motion are contained in the memorandum of law

  concurrently filed in support of this motion. A proposed order is attached for the Court’s

  convenience.
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  Dated: May 17, 2024

  Respectfully submitted,

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